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       Dowd, J.


                                        UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION


       United States of America,                            )
                                                            )     CASE NO. 6:08 CR 118-ORL-DDD-DAB
                         Plaintiff,                         )
                                                            )
               v.                                           )     ORDER
                                                            )
       Akhil Baranwal,                                      )
                                                            )
                         Defendant.                         )

               This matter is before the Court for consideration of United Magistrate Judge Baker’s Report and

       Recommendation dated December 4, 2013 and found at ECF Doc. No. 1133. Magistrate Judge Baker

       recommends granting in part and denying in part the motion of defendant Akhil Baranwal (ECF Doc. No.

       1130) to alter the language of the criminal judgment issued in this case. The government opposed

       defendant Baranwal’s motion (ECF Doc. No. 1132), but filed no objection to Magistrate Judge Baker’s

       Report and Recommendation.

               Having considered Magistrate Judge Baker’s well-reasoned Report and Recommendation, the

       Court concludes that the Report and Recommendation should be adopted. Accordingly, it is hereby

       ordered that:

       1)      Magistrate Judge Baker’s Report and Recommendation is adopted and incorporated by reference

               in this Order; and

       2)       Defendant Baranwal’s motion is granted in part and denied in part as reflected in Magistrate

               Judge Baker’s adopted and incorporated Report and Recommendation.

               The Court requests that the Clerk prepare an amended Judgment consistent with this Order.

               IT IS SO ORDERED.


        March 14, 2014                                    s/ David D. Dowd, Jr.
       Date                                             David D. Dowd, Jr.
                                                        U.S. District Judge
